           Case:23-10177-JGR Doc#:9 Filed:01/22/23                                        Entered:01/22/23 22:14:25 Page1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 23-10177-JGR
Matthew Luke Marchese                                                                                                  Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 20, 2023                                               Form ID: 769                                                              Total Noticed: 22
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 22, 2023:
Recip ID                   Recipient Name and Address
db                     +   Matthew Luke Marchese, 7840 Big Pine Court, Colorado Springs, CO 80920-4514
pp                     +   Nanci Rogers, 2525 Verde Drive #221, Colorado Springs, CO 80910-2106
19328678               +   Colorado Housing & Finance, Re: XX XXX 5262, 1 Corporate Drive, Suite 360, Lake Zurich, IL 60047-8945
19328695               +   Indigo Credit Card, Re: XX XXX 5262, 14600 Greenbriar Parkway, Beaverton, OR 97006-5745
19328687               +   Kata Dult, Re: XX XXX 5262, 5204 Tennyson Pkwy #500, Plano, TX 75024-7142
19328682               +   State of Colorado Child Support, Re: XX XXX 5262, 14980 E Alameda Dr.,, Aurora, CO 80012-1542

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: FLHMARTINEZ
                                                                                        Jan 21 2023 03:19:00      Lynn Martinez, 1123 N. Elizabeth St., Pueblo, CO
                                                                                                                  81003-2259
19328683               + EDI: CAPITALONE.COM
                                                                                        Jan 21 2023 03:19:00      Capital One, Re: XX XXX 5262, PO Box 31293,
                                                                                                                  Salt Lake City, UT 84131-0293
19328694               + Email/Text: bkinfo@ccfi.com
                                                                                        Jan 20 2023 22:19:00      Check into Cash of Colorado, Re: XX XXX 5262,
                                                                                                                  3659-36 Austin Bluffs Pkwy, Colorado Springs,
                                                                                                                  CO 80918-6659
19328684               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Jan 20 2023 22:32:19      Conn Credit Corporation, Re: XX XXX 5262, PO
                                                                                                                  Box 815867, Dallas, TX 75381-5867
19328679                   Email/Text: BKCourtNotices@yourmortgageonline.com
                                                                                        Jan 20 2023 22:19:00      Dovenmuehle Mortgage, Inc., Re: XX XXX 5262,
                                                                                                                  1 Corporate Drive, Suite 360,, Lake Zurich, IL
                                                                                                                  60047
19328691                   Email/Text: BNSTAZ@capitalsvcs.com
                                                                                        Jan 20 2023 22:19:00      Taz Visa, Re: XX XXX 5262, PO Box 2876,
                                                                                                                  Omaha, NE 68102
19328686               + Email/Text: BNSTAZ@capitalsvcs.com
                                                                                        Jan 20 2023 22:19:00      FNB Old Ham/CCS, Re: XX XXX 5262, PO Box
                                                                                                                  5081, Sioux Falls, SD 57117-5081
19328685               + EDI: BLUESTEM
                                                                                        Jan 21 2023 03:19:00      Fetti Fingerhut, Re: XX XXX 5262, 13300 Pioneer
                                                                                                                  Trail, Eden Prairie, MN 55347-4120
19328680               + Email/Text: bankruptcy@glsllc.com
                                                                                        Jan 20 2023 22:19:00      Global Lending Service, Re: XX XXX 5262, 3399
                                                                                                                  Peachtree Rd.,, NE Unit 400, Atlanta, GA
                                                                                                                  30326-1120
19328681                   EDI: IRS.COM
                                                                                        Jan 21 2023 03:19:00      Internal Revenue Service, Re: XX XXX 5262, PO
                                                                                                                  Box 7704, San Francisco, CA 94120
19328688               + Email/Text: PBNCNotifications@peritusservices.com
                                                                                        Jan 20 2023 22:19:00      Kohls Department Store, Re: XX XXX 5262, PO
                                                                                                                  Box 3115, Milwaukee, WI 53201-3115
19328689               + EDI: PHINGENESIS
                                                                                        Jan 21 2023 03:19:00      Milestone Credit Card/Genesis, Re: XX XXX
                                                                                                                  5262, PO Box 84059, Columbus, GA 31908-4059
19328690                   Email/Text: bankruptcy@nationalcreditsystems.com
                                                                                        Jan 20 2023 22:19:00      National Credit Systems, Re: XX XXX 5262, PO
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District/off: 1082-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jan 20, 2023                                           Form ID: 769                                                          Total Noticed: 22
                                                                                                            Box 672288, Marietta, GA 30006
19328696              ^ MEBN
                                                                                   Jan 20 2023 22:14:19     Patenaude & Felix, APC, Re: XX XXX 5262,
                                                                                                            9619 Chesapeake Drive, Ste. 300, San Diego, CA
                                                                                                            92123-1392
19328692              + EDI: WTRRNBANK.COM
                                                                                   Jan 21 2023 03:19:00     TD Bank USA/Target, Re: XX XXX 5262, PO
                                                                                                            Box 673, Minneapolis, MN 55440-0673
19328693              + EDI: PHINGENESIS
                                                                                   Jan 21 2023 03:19:00     The Bank of Missouri, Re: XX XXX 5262, PO
                                                                                                            Box 4499, Beaverton, OR 97076-4499

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 22, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 18, 2023 at the address(es) listed
below:
Name                             Email Address
Lynn Martinez
                                 lmartinez@trustee.comcastbiz.net lhm@trustesolutions.net

US Trustee
                                 USTPRegion19.DV.ECF@usdoj.gov


TOTAL: 2
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Information to identify the case:

Debtor 1:
                      Matthew Luke Marchese                                            Social Security number or ITIN:    xxx−xx−5262
                                                                                       EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Colorado                             Date case filed for chapter:          7      1/17/23

Case number:           23−10177−JGR

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                        10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                             About Debtor 2:

1.        Debtor's full name                     Matthew Luke Marchese

2.        All other names used in the
          last 8 years

3.      Address                                  7840 Big Pine Court
                                                 Colorado Springs, CO 80920

4.      Debtor's attorney                        Matthew Luke Marchese                                       Contact phone 719−341−9301
                                                 7840 Big Pine Court                                         Email mmarchese11@yahoo.com
        Name and address                         Colorado Springs, CO 80920

5.      Bankruptcy trustee                       Lynn Martinez                                               Contact phone 719−542−6707
                                                 1123 N. Elizabeth St.                                       Email lmartinez@trustee.comcastbiz.net
        Name and address                         Pueblo, CO 81003

The person designated as Bankruptcy Trustee has been selected as Interim Trustee of the bankruptcy estate and the trustee's previously−filed blanket
bond is approved. Unless another trustee is elected at the meeting of creditors, the trustee shall serve without further appointment or qualification. The
trustee is deemed to have accepted the appointment, unless the trustee notifies the Court and the U.S. Trustee in writing of any rejection within seven
days after receipt of notice of selection.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline COB#769
                                                                                                                                           page 1
b309a_7cna
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Debtor Matthew Luke Marchese                                                                                         Case number 23−10177−JGR


6. Bankruptcy clerk's office                    US Bankruptcy Court                                           Hours open Monday − Friday 8:00
                                                US Custom House                                               AM − 4:30 PM
    Documents in this case may be filed at this 721 19th St.
    address. You may inspect all records filed Denver, CO 80202−2508                                          Contact phone 720−904−7300
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                              Date: 1/19/23

7. Meeting of creditors                          February 21, 2023 at 08:30 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a later date.   The meeting is by Zoom. Go to
    questioned under oath. In a joint case,      If so, the date will be on the court docket.                 Zoom.us, Click on JOIN or call 1
    both spouses must attend. Creditors may
    attend, but are not required to do so.                                                                    720−287−7359, Meeting ID 293
                                                                                                              107 0002, Passcode 3708189328

                                                                                                              For additional meeting information go to
                                                                                                              www.justice.gov/ust/moc.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 4/24/23
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                            Filing deadline: 30 days after the
                                                                                                              conclusion of the meeting of creditors


                                                 The law permits debtors to keep certain property as
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                 that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                 receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
